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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )            CASE NO. 8:05CR259
                                                  )
       vs.                                        )
                                                  )
CORY JAMES SHIFFLETT,                             )                       ORDER
                                                  )
                       Defendant.                 )
                                                  )

       Upon the Defendant’s oral request to continue the hearing on the plea of guilty.
       IT IS ORDERED that:
       1.      The Defendant’s oral request to continue the change of plea hearing is granted.

       2.      A hearing on the defendant’s anticipated plea of guilty is scheduled before District
Judge Laurie Smith Camp on the 24th of April, 2006, at the hour of 2:00 p.m. in Courtroom No. 2,
Third Floor, Roman L. Hruska Courthouse, 111 S. 18th Plaza, Omaha, Nebraska.

        3.      Counsel shall abide by the requirements of NE Crim. 11.1(d) regarding the filing and
provisions of the petition to enter a plea of guilty and any written plea agreement.

        4.      On or before the date for the plea proceeding, counsel for plaintiff and for defendant
shall provide to the assigned probation officer their respective versions of the offense for purposes
of preparing the presentence investigation report.

        5.       For this defendant, the time between today’s date and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. The
Court finds that failure to grant a continuance would result in a miscarriage of justice. See 18
U.S.C. §§ 3161(h)(1)(I), (h)(8)(A) & (h)(8)(B).

       Dated this 22nd day of March, 2006.

                                                      BY THE COURT:
                                                      s/Laurie Smith Camp
                                                      United States District Judge
